      Case 1:21-cv-10933-WGY Document 1 Filed 06/03/21 Page 1 of 16



                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS



PAUL EVANS, Individually and on Behalf of   Case No. 1:21-cv-10933
All Others Similarly Situated,

                        Plaintiff,
       v.                                   CLASS ACTION COMPLAINT FOR
                                            VIOLATIONS OF THE FEDERAL
FREQUENCY THERAPEUTICS, INC. and            SECURITIES LAWS
DAVID L. LUCCHINO,

                        Defendants.         JURY TRIAL DEMANDED
            Case 1:21-cv-10933-WGY Document 1 Filed 06/03/21 Page 2 of 16




        Plaintiff Paul Evans (“Plaintiff”), individually and on behalf of all other persons similarly

situated, by Plaintiff’s undersigned attorneys, alleges the following based upon personal knowledge,

as to Plaintiff and Plaintiff’s own acts, and upon information and belief, as to all other matters, based

on the investigation conducted by and through Plaintiff’s attorneys, which includes, among other

things, a review of U.S. Securities and Exchange Commission (“SEC”) filings made by Frequency

Therapeutics, Inc. (“Frequency” or the “Company”), analyst and media reports, and Company press

releases.    Plaintiff believes that substantial, additional evidentiary support will exist for the

allegations set forth herein.

                          NATURE AND SUMMARY OF THE ACTION

        1.       This is a federal securities action on behalf of a class consisting of all persons who

purchased or otherwise acquired Frequency’s common stock between November 16, 2020, and

March 22, 2021, inclusive (the “Class Period”) seeking to pursue remedies under the Securities

Exchange Act of 1934 (the “Exchange Act”). This action brings claims against Defendants

Frequency and Frequency’s Chief Executive Officer (“CEO”) David L. Lucchino (“Lucchino”), and

seeks to recover damages caused by Defendants’ violations of the Exchange Act.

        2.       Frequency is a publicly-traded pharmaceutical company. Headquartered in Woburn,

Massachusetts and incorporated in Delaware, Frequency is focused on the development and

commercialization of a hearing loss treatment titled “FX-322,” which the Company has long

promoted as a potential treatment for patients with severe sensorineural hearing loss (“SNHL”).

        3.       Frequency has conducted multiple clinical trials assessing the safety and efficacy of

FX-322, the most significant of which was a Phase 2a trial, which began in October 2019. Each

participant in the Phase 2a trial was given a four-dose regimen of FX-322 (or a placebo), which




                                                   1
         Case 1:21-cv-10933-WGY Document 1 Filed 06/03/21 Page 3 of 16




consisted of a single injection of the drug (or placebo) four weeks in a row. Frequency then assessed

the results 90 days after completion of the regimen and again in the months after.

       4.      Shortly thereafter, Defendants Frequency and Lucchino learned that the Company’s

Phase 2a trial results failed to live up to the Company’s expectations as the results revealed no

discernable difference between FX-322 and the placebo.

       5.      In spite of the disappointing results, the Company continued to conduct the Phase 2a

study while releasing positive statements in earnings calls, press releases, SEC filings, and

pharmaceutical presentations about FX-322’s potential. These statements materially misled the

market and artificially inflated the value of Frequency’s common stock.

       6.      Seizing on the Company’s artificially high share price, in April 2020 Defendant

Lucchino began selling his shares of Frequency, initially dumping between 10,000 and 20,000

shares—earning hundreds of thousands of dollars—each month and then increasing the number of

sales to 60,000 to 80,000 shares—earning millions of dollars—each month as Frequency’s deadline

for releasing the disastrous Phase 2a results drew near. All told, Lucchino sold over 350,000 shares

and earned over $10.5 million.

       7.      Upon revelation of the disastrous results before the market opened on March 23,

2021, Frequency’s shares fell from $36.29 to $7.99, a 78% drop, and a loss of approximately $955

million in the Company’s market capitalization.

                                 JURISDICTION AND VENUE

       8.      The claims asserted herein arise under and pursuant to §§10(b) and 20(a) of the

Exchange Act (15 U.S.C. §78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder (17 C.F.R.

§240.10b-5).




                                                  2
         Case 1:21-cv-10933-WGY Document 1 Filed 06/03/21 Page 4 of 16




       9.      This Court has jurisdiction over the subject matter of this action pursuant to §27 of

the Exchange Act (15 U.S.C. §78aa) and 28 U.S.C. §1331.

       10.     Venue is proper in this District pursuant to §27 of the Exchange Act (15 U.S.C.

§78aa) and 28 U.S.C. §1391(b). At all relevant times, Frequency was headquartered and conducted

business in this District at 19 Presidential Way, 2nd Floor, Woburn, Massachusetts 01801. In

addition, many of the acts charged herein, including the preparation and dissemination of materially

false and misleading information, occurred in substantial part in this District.

       11.     In connection with the acts, conduct, and other wrongs alleged in this Complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including, but not limited to, the U.S. mail, interstate telephone communications, and facilities of

national securities markets. All of the transactions in the securities that are at issue in this action

took place within the United States.

                                              PARTIES

       A.      Plaintiff

       12.     Plaintiff purchased Frequency shares at artificially inflated prices during the Class

Period and was damaged upon the revelation of the alleged corrective disclosures.

       B.      Defendants

       13.     Defendant Frequency is a pharmaceutical company based in Woburn, Massachusetts

and incorporated in Delaware. Frequency’s business is primarily focused on the development and

commercialization of a hearing loss treatment called “FX-322.” Frequency’s stock trades on the

Nasdaq Global Select Market (“Nasdaq”) under the ticker “FREQ.”

       14.     Defendant Lucchino is Frequency’s CEO and President and is a director of the

Company.




                                                  3
         Case 1:21-cv-10933-WGY Document 1 Filed 06/03/21 Page 5 of 16




       15.     Frequency and Lucchino are collectively referred to herein as “Defendants.”

                                SUBSTANTIVE ALLEGATIONS

       16.     Founded in 2014, Frequency went public in October 2019. The Company has never

earned a profit in any fiscal year and is heavily dependent on the success of FX-322, its lead product

candidate. FX-322 is a treatment Frequency is developing for patients with severe sensorineural

hearing loss—or SNHL.

       17.     A successful treatment for SNHL would be extremely lucrative. In their IPO offering

documents, Frequency explained that they are motivated to develop FX-322 because the U.S. Food

and Drug Administration has yet to approve any drug therapies for the treatment of SNHL.

       18.     Frequency has performed at least six clinical trials of FX-322; one was exploratory

and tested whether FX-322 was therapeutically possible; four were Phase 1 studies and tested

whether FX-322 is safe; and one study was a Phase 2 trial, which tested whether FX-322 is effective.

It is this latter clinical trial—a Phase 2a study—that is at issue here.

       19.     The Phase 2a study began enrolling patients in the fall of 2019. In total, patients

received four injections over the course of four consecutive weeks of either FX-322 or a placebo

and then Frequency assessed the results in its patients 90 days later and again over the course of

several more months.

       20.     In sum, Frequency enrolled 95 patients, with the first patient receiving the first dose

at the beginning of October 2019 and the last patient receiving their first dose in September 2020.

       21.     Concurrently with the start of the Phase 2a study, in its 3Q 2019 Form 10-Q issued

on November 18, 2019, Frequency announced that it would release the results obtained from the

study “in the second half of 2020.”




                                                   4
         Case 1:21-cv-10933-WGY Document 1 Filed 06/03/21 Page 6 of 16




       22.     Unfortunately, the results Frequency obtained were not positive and the Company

pushed back the deadline to release the results to the spring of 2021, blaming the delay on the

ongoing COVID-19 pandemic in its FY 2019 Form 10-K filed on March 26, 2020. At this point,

Frequency explained, the trial was “approximately at the halfway point of enrollment.”

       23.     Almost immediately after, Defendant Lucchino, Frequency’s CEO, began selling his

shares, dumping 5,236 shares of Frequency in his first reported sale ever on April 15, 2020.

       24.     Two days later he sold again, selling 3,100 shares. All told, in the month of April

2020, Lucchino sold 10,475 shares, earning over $163,000.

       25.     The following month, Lucchino sold again, selling 20,953 shares, and earning over

$355,000.

       26.     Lucchino continued methodically selling his shares throughout the rest of the year

and the first three months of 2021, increasing the pace of his sales dramatically in December 2020

to over 84,000 shares (earning approximately $2.9 million) as the deadline for releasing the Phase

2a results neared. All told, Lucchino sold over 350,000 shares of Frequency’s common stock,

earning over $10.5 million.

       27.     Throughout 2020, however, Defendants painted a rosy picture of FX-322, the Phase

2a trial, and the Company’s likelihood of success.

       28.     For example, in a November 16, 2020 press release accompanying 3Q 2020 results,

the Company boldly announced that it was “expanding its FX-322 development program to evaluate

FX-322’s clinical profile in other SNHL patient types . . . in order to identify the broadest population

that may benefit from the product candidate” and that “[t]he results of the Phase 2a end of study

analysis . . . are expected to provide the basis for an end of Phase 2 meeting with the US Food and




                                                  5
         Case 1:21-cv-10933-WGY Document 1 Filed 06/03/21 Page 7 of 16




Drug Administration regarding potential pivotal studies of FX-322,” both critical milestones in new

drug development.

       29.    In that same press release, Defendant Lucchino added:

              This past quarter we continued to gain momentum, completing study
              enrollment and moving toward a day-90 readout of the Phase 2a study of
              FX-322, while expanding our development program by adding additional
              studies to further our understanding of the potential of FX-322 to help the
              broadest SNHL patient population. The analysis of day-90 data will enable
              us to evaluate our key goals for the Phase 2a study and provide a comparison
              to the hearing improvement signal we observed in our Phase 1/2 study.

       30.    Later, in a January 19, 2021 conference call dedicated to FX-322’s ongoing clinical

studies, Carl LeBel, Frequency’s chief development officer, compared the current Phase 2a study to

one of the Company’s prior Phase 1 safety studies, explaining:

              [T]hat over the course of the 90 day study, after a single injection, there’s
              a very good separation between the FX 322 groups and the placebo group,
              there’s no placebo effect to really speak of and these effects were
              statistically significant as well.

              ...

              So here, we’re essentially seeing that a single injection of FX 322 can
              keep a benefit manifest by improvements in word recognition almost 1 to
              2 years later depending on the subject and that’s really quite remarkable,
              we can’t think of a single example where one gives a small molecule or
              one injection and sees an effect, a biologic effect that can be maintained
              for that long. So really exciting data.

              So all the learnings from the phase 1 study of the durability data, we carry
              forward into a phase 2a study and this is the study that is running now, it
              was enrolled—fully enrolled in the September of last year. It has a similar
              design, same kinds of patients that have to have stable hearing loss, they
              have to have etiologies that are noise-induced or some sensorineural, they
              have to have baseline recognition deficits, word recognition deficits and that
              way, every patient in the study has a benefit, has an opportunity to see a
              benefit if they have been assigned to FX 322.

       31.    Unfortunately, the Phase 2a study was not going well, a fact Defendants knew well,

and which the investing public market would learn soon.




                                                6
         Case 1:21-cv-10933-WGY Document 1 Filed 06/03/21 Page 8 of 16




                                    THE TRUTH EMERGES

       32.     Before the market opened on Tuesday, March 23, 2021, Frequency disclosed in a

press release deeply disappointing interim Phase 2a results, revealing that subjects with mild to

moderate SNHL did not demonstrate improvements in hearing measures versus placebo.

       33.     These results dramatically undercut the narrative the Company had spun since

Frequency’s IPO and investors reacted accordingly. That day, Frequency’s shares fell from $36.29

to $7.99, a 78% drop, representing a decline in the Company’s market capitalization of

approximately $955 million.

       34.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and the other Class members have suffered

significant losses and damages.

                           PLAINTIFF’S CLASS ACTION ALLEGATIONS

       35.     Plaintiff brings this action as a class action pursuant to Rules 23(a) and (b)(3) of the

Federal Rules of Civil Procedure on behalf of a class consisting of all those who purchased or

otherwise acquired Frequency’s common stock during the Class Period and were damaged upon the

revelation of the alleged corrective disclosure (the “Class”). Excluded from the Class are the

Defendants named herein, the officers and directors of the Company, at all relevant times, members

of their immediate families and their legal representatives, heirs, successors, or assigns, and any

entity in which Defendants have or had a controlling interest.

       36.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Frequency’s common stock was actively traded on the

Nasdaq in the United States. While the exact number of Class members is unknown to Plaintiff at

this time and can be ascertained only through appropriate discovery, Plaintiff believes that there are




                                                 7
         Case 1:21-cv-10933-WGY Document 1 Filed 06/03/21 Page 9 of 16




hundreds or thousands of members in the proposed Class. Record owners and other members of the

Class may be identified from records maintained by Frequency or its transfer agent and/or the

Nasdaq and may be notified of the pendency of this action by mail, using the form of notice similar

to that customarily used in securities class actions.

       37.     Plaintiff’s claims are typical of the claims of the members of the Class as all members

of the Class are similarly affected by Defendants’ wrongful conduct in violation of federal law that

is complained of herein.

       38.     Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation. Plaintiff has

no interests antagonistic to or in conflict with those of the Class.

       39.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

               (a)       whether the federal securities laws were violated by Defendants’ acts as

       alleged herein;

               (b)       whether statements made by Defendants to the investing public during the

       Class Period misrepresented material facts about the business, operations, and management

       of Frequency;

               (c)       whether the Defendants Lucchino caused Frequency to issue false and

       misleading statements during the Class Period;

               (d)       whether Defendants acted knowingly or recklessly in issuing false and

       misleading statements;




                                                  8
         Case 1:21-cv-10933-WGY Document 1 Filed 06/03/21 Page 10 of 16




                (e)     whether the prices of Frequency’s common stock during the Class Period

        were artificially inflated because of the Defendants’ conduct complained of herein; and

                (f)     whether the members of the Class have sustained damages and, if so, what

        is the proper measure of damages.

        40.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable.

        41.     Furthermore, as the damages suffered by individual Class members may be relatively

small, the expense and burden of individual litigation make it impossible for members of the Class

to individually redress the wrongs done to them. There will be no difficulty in the management of

this action as a class action.

                                 PRESUMPTION OF RELIANCE

        42.     Plaintiff will rely, in part, upon the presumption of reliance established by the fraud-

on-the-market doctrine in that:

                (a)     Defendants made public misrepresentations or failed to disclose material

        facts during the Class Period;

                (b)     the omissions and misrepresentations were material;

                (c)     Frequency’s common stock is traded in an efficient market;

                (d)     the Company’s securities were liquid and traded with moderate to heavy

        volume during the Class Period;

                (e)     the Company’s securities were traded on the Nasdaq in the United States;

                (f)     the Company was covered by securities analysts;

                (g)     the misrepresentations and omissions alleged would tend to induce a

        reasonable investor to misjudge the value of the Company’s securities; and




                                                  9
         Case 1:21-cv-10933-WGY Document 1 Filed 06/03/21 Page 11 of 16




                (h)     Plaintiff and members of the Class purchased, acquired, and/or sold

        Frequency’s common stock between the time the Defendants failed to disclose or

        misrepresented material facts and the time the true facts were disclosed without knowledge

        of the omitted or misrepresented facts.

        43.     Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

presumption of reliance upon the integrity of the market.

        44.     Alternatively, Plaintiff and the members of the Class are entitled to the presumption

of reliance established by the Supreme Court in Affiliated Ute Citizens of Utah v. U.S., 406 U.S. 128

(1972), as Defendants omitted material information in their Class Period statements in violation of

a duty to disclose such information, as detailed above.

                                               COUNT I
                      Violations of §10(b) of the Exchange Act and Rule 10b-5
                                      (Against All Defendants)

        45.     Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein.

        46.     This Count is asserted against Defendants and is based upon §10(b) of the Exchange

Act, 15 U.S.C. §78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

        47.     During the Class Period, Defendants engaged in a plan, scheme, conspiracy, and

course of conduct pursuant to which they knowingly or recklessly engaged in acts, transactions,

practices, and courses of business that operated as a fraud and deceit upon Plaintiff and the other

members of the Class; made various untrue statements of material facts and omitted to state

material facts necessary in order to make the statements made, in light of the circumstances under

which they were made, not misleading; and employed devices, schemes, and artifices to defraud

in connection with the purchase and sale of securities. Such scheme was intended to, and,




                                                  10
        Case 1:21-cv-10933-WGY Document 1 Filed 06/03/21 Page 12 of 16




throughout the Class Period, did: (i) deceive the investing public, including Plaintiff and other

Class members, as alleged herein; (ii) artificially inflate and maintain the market price of

Frequency’s common stock; and (iii) cause Plaintiff and other members of the Class to purchase

or otherwise acquire Frequency’s common stock at artificially inflated prices. In furtherance of

this unlawful scheme, plan, and course of conduct, Defendants took the actions set forth herein.

       48.     Pursuant to the above plan, scheme, conspiracy, and course of conduct, Defendants

participated directly or indirectly in the preparation and/or issuance of the annual reports, SEC

filings, press releases, and other statements and documents, as described above, including

statements made to securities analysts and the media, that were designed to influence the market

for Frequency’s common stock. Such reports, filings, releases, and statements were materially

false and misleading in that they failed to disclose material adverse information and misrepresented

the truth about Frequency’s business and operations.

       49.     By virtue of their positions at Frequency, Defendants had actual knowledge of the

materially false and misleading statements and material omissions alleged herein and intended

thereby to deceive Plaintiff and the other members of the Class, or, in the alternative, Defendants

acted with reckless disregard for the truth in that they failed or refused to ascertain and disclose

such facts as would reveal the materially false and misleading nature of the statements made,

although such facts were readily available to Defendants. Said acts and omissions of Defendants

were committed willfully or with reckless disregard for the truth. In addition, each Defendant

knew or recklessly disregarded that material facts were being misrepresented or omitted, as

described above.

       50.     Information showing that Defendants acted knowingly or with reckless disregard

for the truth is peculiarly within Defendants’ knowledge and control. As a senior manager and/or




                                                11
            Case 1:21-cv-10933-WGY Document 1 Filed 06/03/21 Page 13 of 16




director of Frequency, Defendant Lucchino had knowledge of the details of Frequency’s internal

affairs.

           51.   Defendant Lucchino is liable both directly and indirectly for the wrongs complained

of herein. Because of his position of control and authority, Defendant Lucchino was able to, and

did, directly or indirectly, control the content of the statements of Frequency. As an officer and/or

director of a publicly held company, Defendant Lucchino had a duty to disseminate timely,

accurate, truthful, and complete information with respect to Frequency’s businesses, operations,

future financial condition, and future prospects.       As a result of the dissemination of the

aforementioned false and misleading reports, releases, and public statements, the market price of

Frequency’s common stock was artificially inflated throughout the Class Period. In ignorance of

the adverse facts concerning Frequency’s business and financial condition, which were concealed

by Defendants, Plaintiff and other members of the Class purchased or otherwise acquired

Frequency’s common stock at artificially inflated prices and relied upon the price of the securities,

the integrity of the market for the securities, and/or statements disseminated by Defendants, and

were damaged thereby.

           52.   During the Class Period, Frequency’s common stock was traded on an active and

efficient market. Plaintiff and the other members of the Class, relying on the materially false and

misleading statements described herein, which the Defendants made, issued, or caused to be

disseminated, or relying upon the integrity of the market, purchased or otherwise acquired

Frequency’s common stock at prices artificially inflated by Defendants’ wrongful conduct. Had

Plaintiff and the other members of the Class known the truth, they would not have purchased or

otherwise acquired said common stock, or would not have purchased or otherwise acquired shares

at the inflated prices that were paid. At the time of the purchases and/or acquisitions by Plaintiff




                                                 12
           Case 1:21-cv-10933-WGY Document 1 Filed 06/03/21 Page 14 of 16




and the Class, the true value of Frequency’s common stock was substantially lower than the prices

paid by Plaintiff and the other members of the Class. The market price of Frequency’s common

stock declined sharply upon public disclosure of the facts alleged herein to the injury of Plaintiff

and Class members.

          53.   By reason of the conduct alleged herein, Defendants have knowingly or recklessly,

directly or indirectly, violated §10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder.

          54.   As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and

other members of the Class suffered damages in connection with their respective purchases,

acquisitions, and sales of the Company’s securities during the Class Period, upon the disclosure

that the Company had been disseminating misrepresented financial statements to the investing

public.

                                            COUNT II
                             Violations of §20(a) of the Exchange Act
                                  (Against Defendant Lucchino)

          55.   Plaintiff repeats and realleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

          56.   During the Class Period, Defendant Lucchino participated in the operation and

management of Frequency and conducted and participated, directly and indirectly, in the conduct

of Frequency’s business affairs. Because of his senior position as the Company’s CEO and

President, Defendant Lucchino knew of the adverse non-public information alleged herein.

          57.   As an officer and/or director of a publicly owned company, Defendant Lucchino

had a duty to disseminate accurate and truthful information, with respect to Frequency’s business

practices, and promptly correct any public statements issued by Frequency that had become

materially false or misleading.




                                                 13
        Case 1:21-cv-10933-WGY Document 1 Filed 06/03/21 Page 15 of 16




       58.     Because of his position of control and authority as a senior director and/or officer

and/or executive team member, Defendant Lucchino was able to, and did, control the contents of

the various reports, press releases, and public filings that Frequency disseminated in the

marketplace during the Class Period concerning the Company’s business, operational, and

disclosure policies. Throughout the Class Period, Defendant Lucchino exercised his power and

authority to cause Frequency to engage in the wrongful acts complained of herein. Defendant

Lucchino therefore, was a “controlling person” of Frequency within the meaning of §20(a) of the

Exchange Act. In this capacity, Defendant Lucchino participated in the unlawful conduct alleged

herein that artificially inflated the market price of Frequency’s common stock.

       59.     Defendant Lucchino, therefore, acted as a controlling person of Frequency. By

reason of his senior management position and/or being a director of Frequency, Defendant

Lucchino had the power to direct the actions of, and exercised the same, to cause Frequency to

engage in the unlawful acts and conduct complained of herein. Defendant Lucchino exercised

control over the general operations of Frequency and possessed the power to control the specific

activities that comprise the primary violations about which Plaintiff and the other members of the

Class complain.

       60.     By reason of the above conduct, Defendant Lucchino is liable pursuant to §20(a) of

the Exchange Act for the violations committed by Frequency.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.      Determining that the instant action may be maintained as a class action under Fed.

R. Civ. P. 23 and certifying Plaintiff as Class Representative;




                                                14
        Case 1:21-cv-10933-WGY Document 1 Filed 06/03/21 Page 16 of 16




       B.      Requiring Defendants to pay damages sustained by Plaintiff and the Class by reason

of the acts and transactions alleged herein;

       C.      Awarding Plaintiff and the other members of the Class prejudgment and post-

judgment interest, as well as their reasonable attorneys’ fees, expert fees, and other costs; and

       D.      Awarding such other and further relief as this Court may deem just and proper.

                                   JURY TRIAL DEMANDED

        Plaintiff hereby demands a trial by jury.

DATED this 3rd day of June, 2021.

                                               SCOTT+SCOTT ATTORNEYS AT LAW LLP

                                               By: /s/ Amanda Lawrence
                                               Amanda Lawrence (MA 568737)
                                               Thomas L. Laughlin, IV (pro hac vice forthcoming)
                                               Rhiana L. Swartz (pro hac vice forthcoming)
                                               The Helmsley Building
                                               230 Park Avenue, 17th Floor
                                               New York, NY 10169
                                               Tel.: (212) 223-6444
                                               Fax: (212) 223-6334
                                               alawrence@scott-scott.com
                                               tlaughlin@scott-scott.com
                                               rswartz@scott-scott.com

                                               Attorneys for Plaintiff Paul Evans




                                                   15
